         Case 8-19-74285-ast        Doc 11     Filed 08/23/19      Entered 08/23/19 08:33:00



IN THE UNITED STATES BANKRUPTCY
COURT FOR THE EASTERN DISTRICT
OF NEW YORK
 In Re:                                               Chapter: 7
 Alex Ramirez                                         Bankruptcy Case: 8-19-74285-ast
        Debtor(s)                                     Bankruptcy Judge: Alan S. Trust

                            NOTICE OF REQUEST/MOTION TO
                     VACATE THE AUTOMATIC STAY (& OTHER RELIEF)
                                 AND HEARING DATE

TO ALL INTERESTED PARTIES:
         Please take notice that upon the annexed application of Deutsche Bank National Trust
Company, as Trustee for First Franklin Mortgage Loan Trust 2005-FF11, Asset-Backed Certificates,
Series 2005-FF11(“Movant”), by the undersigned counsel, a hearing will be heard before the
Honorable Alan S. Trust, for an Order granting Movant, its successors and/or assigns to proceed with
its rights under state law with respect to the real property located at 116 Porterfield Place, Freeport, NY
11520.

                   Date and Time of Hearing:      September 26, 2019 at 10:30 am
                                   Location:      Bankruptcy Court for the Eastern District of New
                                                  York
                                                  Alfonse M. D`Amato U.S. Courthouse
                                                  290 Federal Plaza
                                                  Central Islip, NY 11722




Date: August 23, 2019                           Stern & Eisenberg, PC

                                                   By: /s/Jacqueline F. McNally, Esq.
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                                                   Counsel for Movant
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Service List

Robert L. Pryor                                     Regular Mail
675 Old Country Road                                Notice of Electronic Filing (ECF)
Westbury, NY 11590
(BK Trustee)


Gary C. Fischoff                                    Regular Mail
6901 Jericho Turnpike                               Notice of Electronic Filing (ECF)
Suite 230
Syosset, NY 11791
(Debtor Counsel)

United States Trustee
560 Federal Plaza
Room 560
Central Islip, NY 11722-4437

All other parties on ECF: REGULAR MAIL

Alex Ramirez
116 Porterfield Place
Freeport, NY 11520
